       Case 1:13-cr-00102-SPW Document 36 Filed 12/12/13 Page 1 of 1



              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                       BILLINGS DIVISION

UNITED STATES OF AMERICA,
                                            CR 13-102-BLG-SEH-01
                  Plaintiff,

vs.                                         FINDINGS AND
                                            RECOMMENDATION
GEORGE MORRIS PARISIAN,                     CONCERNING PLEA

                  Defendant.

      The Defendant, by consent, appeared before me under Fed. R.

Crim. P. 11. See ECF 32 at 6. Defendant stated at the hearing that he

no longer wishes to change his plea in accordance with the Plea

Agreement. Accordingly, IT IS RECOMMENDED that Defendant’s

motion to change plea (ECF 26) be DENIED.

      Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days after the filing of the

Findings and Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim.

P 59(b)(2).

      DATED this 12th day of December, 2013.


                               /s/ Carolyn S. Ostby
                               United States Magistrate Judge
